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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF LOUISIANA
                                   LAFAYETTE DIVISION
                   JOHN GUIDRY                       NO. 6:21−CV−03994−RRS−PJH

                       VERSUS                        JUDGE ROBERT R SUMMERHAYS

       NOBLE DRILLING (U S) L L C , et al.           MAGISTRATE JUDGE PATRICK J HANNA



              NOTICE OF CORPORATE DISCLOSURE STATEMENT REQUIREMENT

 NOTICE TO FILER:

      The Notice of Removal − #1 filed by Noble Drilling (U S) L L C, Noble Drilling Services Inc, was the
 first appearance by this party. According to Fed.R.Civ.P. 7.1, "the first appearance of a non−governmental
 corporate party requires a corporate disclosure statement." Additionally, the rule requires that a corporate
 party "promptly" supplement the statement upon any change in the information that the party previously
 provided to the court.

     In accordance with this rule, the United States District Court, Western District of Louisiana requires that a
 corporate party who makes a first appearance in a case must file a corporate disclosure statement either
 identifying any parent corporation or corporation holding 10% or more of its stock holdings or file a statement
 stating there is no such parent corporation or other corporation holding stock in the corporation. For pending
 cases in which a corporate disclosure statement has not previously been filed by any non−governmental
 corporate party, the court also requires such a statement be filed as soon as possible.

     A corporate disclosure statement must be electronically filed by 12/2/2021 or the matter will be
 referred to the court for further action to enforce compliance. If you feel this notice has been issued in
 error or the filer is not a non−governmental corporate party, please submit a document declaring same.

    For questions regarding this document or transmission, please call our CM/ECF help desk at
 1−866−323−1101.

    THUS DONE November 18, 2021.



                                                             TONY R. MOORE
                                                             CLERK OF COURT
